         Case 3:22-cr-00172-AWT Document 1 Filed 08/16/22 Page 1 of 1




                                   CRIMINAL CALENDAR

The following CRIMINAL CASE will be presented by the United States Government in the
United States District Court, 450 Main Street, Hartford, CT before the Honorable ALVIN W.
THOMPSON, United States District Judge, on Friday, August 26, 2022, at 3:00 pm.
                                                                 AUSA CONOR M. REARDON

                                                                Waiver oflndictment/Plea Hearing

UNITED STA TES                                 Case No. 3:22CR 172 (A WT)

        V.

      JOHN DOE                                 COUNT ONE
                                               18 USC§ 1343
(John R. Gulash, Esq.)                         Wire Fraud


                                               PENALTIES
                                               Imprisonment: 20 years maximum
                                               Fine: $250,000
                                               Supervised Release: 3 years maximum
                                               Special Assessment: $100




To: Honorable Alvin W. Thompson

cc:     U.S. Attorney's Office ;_Hartford
        U.S. Marshal's Office~ Hartford- via email
        U.S. Clerk's Office - Linda Ferguson, Courtroom Deputy - via email
        U.S. Probation Office - Hartford- via email
        John R. Gulash, Esq. (Counsel for Defendant)- via email
